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 9                        UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11   PAUL STOCKINGER, ELIZABETH                 Case No.: 17-cv-00035-VAP-KS
     STOCKINGER, GAILYN
12   KENNEDY, BASUDEB DEY,                      PLAINTIFFS’ MEMORANDUM
     ELIEZER CASPER, YVETTE                     OF POINTS AND AUTHORITIES
13   ALLEY, and NORMAL BEIL on                  IN OPPOSITION TO
     behalf of themselves and all others        DEFENDANT’S MOTION FOR
14   similarly situated,                        SUMMARY JUDGMENT
                         Plaintiffs,
15                                              Date: January 14, 2019
                 v.                             Time: 2:00 p.m.
16
     TOYOTA MOTOR SALES, U.S.A.,                Judge: Hon. Virginia A. Phillips
17   INC., a California corporation,            Ctrm.: 8A, 8th Floor
18                      Defendant.
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                                                         PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1         Plaintiffs Paul & Elizabeth Stockinger, Basudeb Dey, Gailyn Kennedy,
  2   Eliezer Casper, Yvette Alley (“Stockinger Plaintiffs”) and Norman Beil (Beil, with
  3   the Stockinger Plaintiffs, “Plaintiffs”) submit the following Memorandum of
  4   Points and Authorities in opposition to defendant Toyota Motor Sales Inc.’s
  5   (“Defendant” or “TMS”) Motion for Summary Judgment (“Motion” or “Mot.”).
  6   I.    INTRODUCTION
  7         The Stockinger Plaintiffs filed their Amended Complaint on March 27,
  8   2017. Dkt. 34. TMS moved to dismiss the Amended Complaint, which the Court
  9   mostly denied on July 7, 2017. Dkt. 50. Plaintiff Beil filed a separate Complaint
 10   on September 25, 2017.      Beil v. Toyota Motor Sales, U.S.A., Inc., Case No. 17-
 11   7079 (C.D. Cal.), Dkt. 1. On July 9, 2018 the Court granted the Parties’ stipulation
 12   to consolidate the Beil action with the Stockinger action. Dkt. 104.
 13         As directed by the Court, discovery has been phased, with Phase I focusing
 14   on the Plaintiffs’ vehicles and their generational models at issue.                 Ex. MM

 15   (10/23/17 Transcript at 4:15-5:12). 1       Further, the Court granted Defendant’s

 16   request that there be an early “exchange of expert witness reports on the defect”

 17   before the end of fact discovery so that Defendant knows “what exactly the defect

 18   is or the claim could be” and is not “attacking the wrong issue.” See id. at 11:11-

 19   13,11:5; see also id. at 15:23-24 (“[Defendant’s] view is that it really is a threshold
      issue in this case of whether there is a defect and, if so, what it is.”). The phasing
 20
      of discovery and initial exchange of expert reports was included as a discovery
 21
 22
      1
        Unless otherwise noted, all exhibits are attached to the Graden Declaration in
 23
      support of Plaintiffs’ Opposition to TMS’s Motion for Summary Judgment and
 24   Motion to Exclude Expert Opinions, Reports, and Testimony of Plaintiffs’
 25   Expert Murat Okçuoğlu, filed contemporaneously hereto. References to “SUF”
      refer to Plaintiffs’ Statement of Genuine Disputes in Opposition to Defendant’s
 26   Motion for Summary Judgment, filed contemporaneously hereto. References to
 27   “Okçuoğlu Decl.” refer to the Declaration of Murat Okçuoğlu in Support of
      Plaintiffs’ Opposition to Defendant’s Motion for Summary Judgment and Motion
 28   to Exclude Plaintiffs’ Expert, filed contemporaneously hereto.
                                              1
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  1   management tool to determine at an early stage whether Plaintiffs could establish a
  2   triable issue as to whether their vehicles suffer from a defect.
  3         Although initial expert reports were exchanged on the nature of the defect,
  4   there currently is no fact discovery deadline. See Dkt. 94, 104. Accordingly, any
  5   issues Defendant raises in the Motion that require final merits or damages experts’
  6   opinions or further discovery, and go beyond whether Plaintiffs’ can show a triable
  7   issue as to a defect, are premature. See also 56(d) Affidavit.
  8   II.   SUMMARY OF ARGUMENT
  9         TMS has long been knowingly marketing and selling Toyota and Lexus
 10   vehicles that contain defective Heating, Ventilation and Air Conditioning systems
 11   (“HVAC Systems”) which cause noxious and foul odors to be emitted into the
 12   passenger compartments of its vehicles. Rather than confronting the problem head
 13   on, which as described below will require a redesign of the HVAC system, TMS
 14   and its affiliates (collectively, “Toyota”) have implemented certain limited

 15   countermeasures; however, these countermeasures have addressed only the

 16   symptoms–not the root cause–and thus have provided only small, incremental

 17   improvements. Meanwhile, TMS continues to hide the truth from its customers so

 18   as to not lose any perceived competitive advantage. Thus, TMS intentionally does

 19   not reveal that its vehicles suffer from a common HVAC defect nor does it advise
      customers that if they want to try to mitigate the odors coming from the HVAC
 20
      Systems they will incur increased costs of ownership.
 21
            TMS claimed it needed an early disclosure of expert reports to know what
 22
      the alleged defect was, and Plaintiffs provided exactly that. Plaintiffs’ expert,
 23
      Murat Okçuoğlu, purchased and examined HVAC Systems for the 2009 Corolla,
 24
      2014 Prius, 2011 Sienna, 2015 Sienna, 2007 Lexus ES 350 and 2014 Lexus ES 350
 25
      (“Subject Vehicles”). Mr. Okçuoğlu authored initial and rebuttal reports explaining
 26
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                                                          PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   the defective design of the HVAC Systems. 2 Okçuoğlu Decl., Ex., 1 (Aug. 21,
  2   2018 “Initial Report”); Ex. 2 (Sept. 11, 2018 “Rebuttal Report”). As this Court has
  3   recognized in an analogous HVAC odor case involving the Toyota Camry, Mr.
  4   Okçuoğlu is “an engineer with over 39 years of experience in automotive
  5   engineering, vehicle design, vehicle manufacturing and vehicle testing, including
  6   in connection with HVAC systems” and is well-qualified to opine on the defects in
  7   the HVAC Systems. Ex. NN (Order, Salas v. Toyota Motor Sales, U.S.A., Inc.,
  8   Case No. 15-8629, at *8 (C.D. Cal. Sept. 29, 2017) (denying TMS’ motion for
  9   summary judgment and accepting Mr. Okçuoğlu’s expert opinion)).
 10         Specifically, Mr. Okçuoğlu concluded in this case that the HVAC Systems
 11   (and particularly the evaporator core and housing) installed in the Subject Vehicles
 12   contain several defective design features which inhibit proper draining and airflow,
 13   promote the accumulation of water, moisture and organic particles within the
 14   evaporator and housing, and create an environment leading to microbial growth

 15   and HVAC odor.       See Okçuoğlu Decl., Ex. 1 (Initial Report, at 42-43).                Of

 16   significance, the authoritative, peer-reviewed sources relied upon by Defendant’s

 17   own expert, Robert Kuhn, confirm, inter alia: (1) evaporator cores can cause

 18   “putrified” odors due to the “great environment” created by condensate which

 19   promotes microbial growth, SUF 41 (Ex. X, at 5; Dkt No. 140-12, at Page 68); (2)
      the health and comfort of car occupants depend on several factors, including air
 20
      quality, SUF 42 (Ex. Y, at 3); Dkt No. 140-12, at Page 68); (3) musty odors most
 21
      commonly complained of in vehicles “are produced by bacteria and fungi that
 22
      grow and multiply in condensed water from the air conditioner evaporator,” SUF
 23
      43 (Ex. Y, at 4); and (4) “rancid odors” from the evaporator “are caused by
 24
      breeding of bacteria.” SUF 44 (Ex. Z, at 3; Dkt No. 140-12, at Page 68).
 25
 26   2
       The first phase of discovery (“Phase I”) was limited to just Plaintiffs’ vehicle
 27   generations, namely: 2009-2013 Corolla, 2010-2015 Prius, 2011-present Sienna,
      2007-2012 Lexus ES 350. See Ex. MM (10/23/2017 Transcript, at 4:15-5:12).
 28   With Beil, Phase I discovery also includes the 2013-2017 Lexus ES 350.
                                            3
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  1         Even though discovery has been limited to date and is far from over, Mr.
  2   Okçuoğlu’s findings echo those of Toyota. Indeed, as detailed below, Toyota’s
  3   documents reveal that, in contrast to what it represents to the public, internally it
  4   realizes that there is a design defect with the HVAC Systems.                 Further, the
  5   documents reveal that defendant knows its countermeasures provide, at best, some
  6   incremental improvement to the HVAC odor problem, but that to actually solve the
  7   HVAC odor problem Toyota must redesign its HVAC Systems.
  8         These hidden truths are well-captured in the following internal TMS
  9   document discussing the HVAC odor problem, wherein
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21   Ex. S (Leighton 75) (emphasis added). TMS requested

 22
 23
 24                                         Id. (emphasis added).
            Defendant’s
 25
                                                 but in a further effort to keep the truth
 26
      from the customer,
 27
 28
                                             4
                                                         PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1
  2                      Id. (emphasis added). Thus, rather than notifying customers
  3
  4
  5
  6                                                         Id.
  7
  8
  9                       Ex. LL.    As the witness explained,
 10
 11                                          Ex. KK (Leighton Dep. at 103:1-19).
 12
 13
 14
 15
 16                                                        Ex. R (Leighton 74) (emphasis

 17   added). Significantly, this is consistent with the opinion of Plaintiff’s expert.

 18         Despite this compelling evidence, TMS has moved for summary judgment

 19   prior to the end of fact discovery. 3 At a minimum, Toyota’s own documents and
      testimony show disputed issues of material fact concerning the defective HVAC
 20
      Systems and Plaintiffs’ claims that must be decided by a jury. The opinions of
 21
      Plaintiff’s expert are consistent with what Defendant itself has realized and further
 22
      compel the denial of summary judgment.
 23
 24
 25   3
        Plaintiffs stipulate to the voluntary dismissal of the following claims: Count IX,
 26   Violation of Song-Beverly Consumer Warranty Act, on behalf of Plaintiff Dey to
 27   the extent it asserts an express warranty claim; Count V, Breach of Express
      Warranty on behalf of Plaintiffs Paul and Elizabeth Stockinger; and Count XIV,
 28   Violation of the Colorado Consumer Protection Act, on behalf of Plaintiff Alley.
                                              5
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  1   III.    STATEMENT OF FACTS
  2           A.   TMS Has Known of its HVAC Odor Problem Since 1997
  3           On May 9, 1997, Toyota released Technical Service Bulletin (“TSB”)
  4   AC002-97 titled: “Air Conditioning Evaporator Odor.”4 SUF 1 (Ex. A). As TSB
  5   AC002-97 explained: “A musty odor may be emitted from the air conditioning
  6   system of some vehicles which are usually operated in areas with high temperature
  7   and humidity” which could result from two conditions: (1) “[b]lockage of the
  8   evaporator housing drain pipe, resulting in the buildup of condensate” and/or (2)
  9   “[m]icrobial growth in the evaporator, arising from dampness in the evaporator
 10   housing where the cooling air flow is dehumidified.” SUF 2 (Ex. A). AC002-97
 11   applied to “All Models” and gave a procedure for cleaning and disinfecting the
 12   vehicles’ evaporators and housing to address HVAC odor complaints. SUF 3 (Ex.
 13   A).
              B.   TMS Has Considered Various Countermeasures to
 14                Hide HVAC Odor and Remove Trapped Moisture
 15           In the early 2000’s,
 16                                                                          See SUF 4 (Ex.
 17   B (Hitt 56)). TMS also
 18
 19                              SUF 5 (Ex. C). Between January 2006 and February
 20   2010,
 21
 22                                                 SUF 6, fn. 1 (Exs. D, E, F).
 23                                                 SUF 8-9 (Ex. H (Hitt Dep. 55:10-
 24   60:5)), Ex. I (Hitt-60)). Accordingly, in early 2010, TMS tested two additional
 25   countermeasures discussed below.
 26                (a) Komori Odor Logic
 27   4
       Additional discovery on AC002-97 is necessary, which will be part of Phase II
 28   discovery. See 56(d) Affidavit.
                                           6
                                                      PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1         Toyota has coined its own term - “Komori Odor” -
  2
  3                                                SUF 11 (Ex. J, Young Dep. at 18:18-
  4   21:15). This led to TMS creating “Komori Odor Logic,” which does not eliminate
  5   the odor or its cause but attempts to make the odor less perceptible by
  6
  7   SUF 12 (Ex. J, Young Dep. at 57:16-59:4).
  8         Not surprisingly, TMS found that
  9                                SUF 13 (Ex. H, Hitt Dep. at 199:18-22).
 10                                              Toyota installed Komori Odor Logic in
 11   the Sienna beginning in 2014, and in mid-production of the 2011 and 2012 model
 12   years for the Lexus ES 350 and Prius, respectively. SUF 14 (Ex. K, Resp. No. 1).
 13                (b) Charcoal Filters
 14         Absent redesign of the HVAC Systems,

 15                                                            SUF 16 (Ex. J (Young Dep.

 16   at 95:21-97:2)).

 17               SUF 15 (Ex. H (Hitt Dep. 50:23-53:17). In fact,

 18
 19
                              SUF 17(Ex. J (Young Dep. 149:4-155:18; 163:19-164:21;
 20
      166:2-12; 206:20-207:21)); Ex. J.1. However,
 21
 22
                                                               SUF 18 (Ex. J (Young Dep.
 23
      95:21-97:2)). None of Plaintiffs’ vehicles came with a charcoal filter installed as a
 24
      standard feature. 5 SUF 20 (Ex. K, First Supp. Resp. No. 6).
 25
 26
      5
 27
 28
                                             7
                                                         PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1               (c) Park Fresh Logic
  2                              Toyota evaluated “Park Fresh Logic” as another
  3   countermeasure for HVAC odors. With Park Fresh Logic,
  4
  5                          SUF 22 (Ex. H (Hitt Dep. 190:6-192:25)). By the summer
  6   of 2013,
  7                                                  SUF 26 (Ex. J (Young Dep. 81:20-
  8   82:4)). However, TMS decided not to implement Park Fresh as a field fix for
  9   existing customers
 10
 11                                   SUF 25 (Ex. J (Young Dep. 76:9-82:4; 121:22-
 12   122:6)). Of the Subject Vehicles, only the 2015-2017 Lexus ES 350 came with
 13   Park Fresh Logic. SUF 27 (Ex. K (First Supp. Resp. No. 3)).
 14         Park Fresh Logic does not eliminate HVAC odor and so Toyota has

 15   considered other countermeasures,

 16
 17
                                                                                    6
                                                                                        SUF 29-

 18   30 (Ex. H (Hitt Dep. 240:14-241:22); Ex. Q (TOY-STOCKINGER-00117476)).

 19         C.    None of the Countermeasures Addressed the Root Cause
            As Toyota has recognized internally,
 20
 21
                                                                                            SUF
 22
      31 (Ex. S (Leighton 75); Ex. R (Leighton 74)).                     Toyota’s internal
 23
      acknowledgement is consistent with the finding of Plaintiffs’ expert, Murat
 24
      Okçuoğlu. Okçuoğlu Decl., Ex. 1 (Initial Report, at 1). Mr. Okçuoğlu’s expert
 25
 26   SUF 21 (TOY-TEMA-STOCKINGER-00017161, at 00017175). Plaintiff Biel
      purchased his Lexus ES one month earlier, on July 18, 2014. Ex. M.
 27   6
        TMS produced limited information
 28
                                           8
                                                      PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   opinion has also been accepted in analogous litigation in this Court over defective
  2   HVAC Systems in the Toyota Camry. Ex. NN (Order, Salas, Case No. 15-8629, at
  3   8). As detailed in the Initial Report, Mr. Okçuoğlu obtained an HVAC system 7 for
  4   each of the six Subject Vehicles. Okçuoğlu Decl., Ex. 1 (Initial Report at 17). The
  5   HVAC systems are substantially similar but fall into two categories: vertical and
  6   horizontal. Id. at 7, 10, 23-24, 42.
  7         Mr. Okçuoğlu found that both the vertical and horizontal modules share
  8   common design features that promote moisture and consequent odors.                       For
  9   example, the evaporator housing diverts airflow unevenly and restricts airflow
 10   toward the distal end of the evaporator. Okçuoğlu Decl., Ex. 1 (Initial Report at
 11   27-36). The HVAC housing design also creates a “dead zone,” which restricts the
 12   bottom portion of the evaporator from airflow. Id. at 30-33. The bottom drain
 13   sections of the evaporator housings also have multiple nooks and crevices that trap
 14   and harbor organic material. Id. at 36-39. As Mr. Okçuoğlu explains, the flaw in

 15   the design is that:

 16                Such small crevices with sharp edges and multiple
                   labyrinth like obstructions create ideal traps for
 17                contaminates to accumulate and organic matter to thrive
 18                in the absence of proper water flow to wash away the
                   contaminants and in the absence of strong air flow to dry
 19                condensation and discourage growth by proper
 20                ventilation.
 21   Id. at 38. As a result, the design prevents air from blowing directly on the bottom
 22   edge of the evaporator, thus permitting the air in this area to remain stale and
 23   produce an environment for the growth of organic matter. Id. at 43.
 24         Mr. Okçuoğlu also points to Toyota’s failure to provide charcoal filters and
 25   HVAC logic in all vehicles to help mitigate the problem, id. at 40-43, along with
 26   inappropriate foam design as providing porosity and crevices suitable for harboring
 27   7
       Denso supplies HVAC modules to Toyota. SUF 32 (Ex. J (Young Dep. 33:1-
 28   20)).                                              Id.
                                             9
                                                        PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   organic material. Id. at 39, 43. These design elements are common to the Subject
  2   Vehicles and all contribute to the odor complaints and problems. Id. at 43; see also
  3   SUF 41-44. As Mr. Okçuoğlu opines, while Toyota may have considered various
  4   countermeasures to address certain symptoms, or aspects, of these flawed design
  5   elements:
  6               None of these attempted fixes by Toyota addressed the
                  root causes: defective airflow and the design promoting
  7               and allowing accumulation of moisture and organic
  8               particles.
      Id. at 40-41. As Toyota knows: “
  9
                                                            SUF 31 (Ex. R).
 10
            In the end, TMS sold vehicles to Plaintiffs with defective HVAC Systems
 11
      which TMS knew would promote microbial growth and foul and noxious odors to
 12
      be emitted into the passenger compartments. As a result, Plaintiffs did not receive
 13
      what they paid for. They paid for what was represented to be a standard product
 14
      but what in fact was a sub-standard vehicle that can only be improved, but not
 15
      fixed, by expending additional sums for required and previously undisclosed,
 16
      expensive maintenance (such as charcoal filters and cleaning) to counteract odor
 17
      developed within the defective HVAC Systems. Plaintiffs thus bring this suit to
 18
      recover for themselves and the hundreds of thousands of similarly situated
 19
      consumers who have likewise been harmed.
 20
      IV.   LEGAL STANDARD
 21
            A motion for summary judgment will only be granted when there is no
 22
      genuine issue as to any material fact, entitling the moving party to judgment as a
 23
      matter of law. Fed. R. Civ. P. 56(c). The moving party must show that, “under the
 24
      governing law, there can be but one reasonable conclusion as to the verdict.”
 25
      Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).
 26
            The moving party bears the burden to demonstrate that it is entitled to
 27   summary judgment, including identifying the elements of the claim or defense and
 28
                                            10
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  1   all the evidence it believes proves the absence of a material fact. See Margolis v.
  2   Ryan, 140 F.3d 850, 852 (9th Cir. 1998); Celotex Corp. v. Catrett, 477 U.S. 317,
  3   323 (1986). A court must construe the evidence in the light most favorable to the
  4   non-party. See Barlow v. Ground, 943 F.2d 1132, 1135 (9th Cir. 1991). If a
  5   nonmovant shows by affidavit or declaration that, for specified reasons, it cannot
  6   present facts essential to justify its opposition, the court may deny the motion. Fed.
  7   R. Civ. P. 56(d)(1).
  8   V.    ARGUMENT
  9          A.    There are Triable Issue of Material Fact As to Whether the
                   HVAC Systems in the Subject Vehicles Are Defective.
 10
            On a motion for summary judgment, a court does not “weigh conflicting
 11
      evidence” to predict what the “ultimate conclusion will be following a trial on the
 12
      merits.” Hill v. Opus Corp, 46 B.R. 361, at 401-02 (C.D. Cal. 2011). To be sure,
 13
      the evidence of a triable issue of fact often comes from the very documents
 14
      produced in the case by the party moving for summary judgment. See, e.g., Jones
 15
      v. U.S., 60 F. 3d 584, 589-90 (9th Cir. 1995)(reversing summary judgment where
 16
      the government’s paperwork supported plaintiff’s contention that he was kept in
 17
      prison after his release date); Heartland Ceramic Applications, Inc. v. Pro-Tek-
 18
      USA, 15-cv-242, 2016 WL 5762769, at *3 (N.D. Okla. Sept. 30, 2016) (finding
 19
      “genuine questions of fact” as to whether defendant was a manufacturer due to
 20
      defendant’s own documents discussing the alleged defect); Transonic System, Inc.,
 21
      143 Fed. Appx. 320, 329 (Fed. Cir. July 25, 2005) (defendant’s “own documents”
 22
      undermine its arguments); PennEnvironment v. PPG Industries, Inc., 127 F. Supp.
 23
      3d 336, 379-385 (Aug. 31, 2015) (finding defendant’s records as to boundaries of
 24
      property to be sufficient to support plaintiffs’ conclusions instead of its own).
 25         Here, it is undisputed that all Plaintiffs experienced HVAC odor. Def’s UF 2
 26   (“Within four months of owning the 2007 Lexus ES 350, Kennedy experienced
 27   HVAC odor”); UF 10 (“Alley first experienced HVAC odor in her 2009 Toyota
 28
                                              11
                                                          PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   Corolla no later than 2010); UF 19 (“The Caspers experienced HVAC odor within
  2   six months of purchasing the 2011 Sienna”); UF 28 (“The Stockingers detect odor
  3   from the HVAC systems in their 2015 Toyota Sienna for several minutes”); UF 35
  4   (recognizing “the intense nature of the HVAC odor experienced by Beil”); UF 42
  5   (“The HVAC odor experienced by Mr. Dey when he uses the air conditioning
  6   system in his 2014 Toyota Prius lasts approximately five to seven minutes”).
  7         As TMS recognized internally, having a vehicle without HVAC odor “is a
  8   basic requirement of the system” which “a customer should expect as a standard
  9   condition.” SUF 139 (Ex. RR (Carter 13)). Defendant’s documents show that TMS
 10   knows its HVAC Systems need to be redesigned to fix this problem. See Section II.
 11   TMS has tried to conceal the problem, see id., and may have engineered small,
 12   incremental improvements, but none of these engineering changes was sufficient.
 13   SUF 31 (Ex. S (Leighton 75); Ex. R (Leighton 74)). Instead, as Defendant’s
 14
 15
 16             SUF 31 (Ex. R (Leighton 74)).

 17         Further, Plaintiffs produced Mr. Okçuoğlu’s expert report, providing

 18   additional evidence of the design defect. Specifically, Mr. Okçuoğlu identifies

 19   eight specific design features that inhibit proper drainage and airflow and thus
      promote HVAC odor. Okçuoğlu Decl., Ex. 1 (Initial Report). These defective
 20
      airflow and drainage patterns inhibit the HVAC Systems’ ability to properly
 21
      remove condensation and prevent bacterial, mold and microbes from breeding
 22
      within dark, warm, humid HVAC Systems. 8 Id. It is disingenuous for TMS to
 23
      argue that Mr. Okçuoğlu’s opinion must be stricken as unreliable when TMS has
 24
 25   8
        TMS’ reliance on Plaintiffs’ testimony that “s/he has no evidence that the
 26   alleged defect caused mold growth in or odors to be emitted from the HVAC
 27   systems” is misleading. Mot. at 2. Plaintiffs were deposed before Mr. Okçuoğlu
      issued his Initial Report. Moreover, as detailed above, evidence linking the defect
 28   HVAC odor is primarily within TMS’ possession, not the defrauded customers.
                                             12
                                                         PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   internally recognized these design problems contributed to Toyota’s HVAC odor
  2   problem,    see SUF 31 ((Ex. S (Leighton 75); Ex. R (Leighton 74)), and
  3   Defendant’s own expert replies upon sources that support Mr. Okçuoğlu’s opinion.
  4   See SUF 41 (Ex. X); SUF 42-43 (Ex. Y); SUF 44 (Ex. Z); Dkt No. 140-12, at Page
  5   68. In addition, this Court has accepted the opinions of Mr. Okçuoğlu in denying
  6   the similar motion for summary judgment of Toyota in Salas. See Ex. NN.
  7          B.    The Court Should Deny TMS’s Premature Request for
                   Summary Judgment Regarding Damages Calculation
  8
            Defendant’s attempt to obtain summary judgment based on the absence of a
  9   damages report is premature. As noted above, the Court ordered a mid-discovery
 10   exchange of expert reports on the defect to manage discovery and thus strike a
 11   balance between discovery involving all vehicles in the putative class and the
 12   vehicles Plaintiffs’ purchased. See Section I. Plaintiffs have provided an expert
 13   report on the defect, as was their obligation under the Court’s Scheduling Orders.
 14         The calculation of the precise amount of damages raises issues common to
 15   the class and which will be subject to expert analysis on a class wide basis during
 16   Phase II of this litigation. There is nothing in the Court’s Scheduling Order that
 17   requires Plaintiffs to prove the amount of their damages prior to the end of fact
 18   discovery. To the contrary, the expert report that TMS contends is required now is
 19   typically produced after the class certification stage, which is the last deadline
 20   under the Scheduling Order. As is standard practice, in connection with class
 21   certification, Plaintiffs will produce an expert report providing a methodology for
 22   calculating damages on a class wide basis; only after class certification motions
 23   are filed would Plaintiffs produce merits expert reports, which would include
 24   quantifying the amount of class wide damages. See Just Film, Inc. v. Buono, 847
 25   F.3d 1108, 1120 (9th Cir. 2017) citing Comcast Corp. v. Behrend, 596 U.S. 27,
 26   133 S.Ct. 1426, 1435, 185 L.Ed.2d 515 (2013) (at class certification, it is only
 27   necessary to demonstrate that “damages are capable of measurement on a
 28   classwide basis.”). See also 1 McLaughlin on Class Actions § 5:23 (15th ed.)

                                            13
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  1   (expert testimony is necessary at class certification to establish a reliable, common
  2   methodology for calculating class wide damages; it is not necessary to provide the
  3   amount of damages until after certification).
  4          Unlike here, the cases that TMS relies upon all address circumstances where
  5   discovery was closed, expert disclosure deadlines had already passed and/or no
  6   56(d) affidavit had been filed.9 It is axiomatic that summary judgment cannot be
  7   granted before a party has had an opportunity to discover and present facts relevant
  8   to its position. 10
  9          Here, Plaintiffs paid for vehicles to come in a standard condition (no odor),
 10   but in reality purchased sub-standard vehicles that had HVAC odor. TMS chose to
 11   conceal the defect, and the increased cost of ownership incident to that defect, so
 12   that its vehicles would remain competitively priced. Plaintiffs and the class
 13   received less than what they paid for. Plaintiffs will provide a damages calculation
 14   quantifying their losses at a later, appropriate stage of this litigation, pursuant to

 15   future Scheduling Orders.

 16          C.      Plaintiffs Kennedy, Alley and Casper’s Claims are Not Barred by
 17                  the Statute of Limitations
             TMS’ argument on the statutes of limitations fails. As this Court recognized
 18
      in denying TMS’ motion to dismiss on statute of limitations grounds, what is
 19
 20
      9
         See Weinberg v. Whatcom City, 241 F.3d 746 (9th Cir. 2001)(discovery
 21
      complete and no 56(d) affidavit); Water, Inc. v. Everpure, Inc., 2012 WL
 22   1294368 (discovery complete, expert not properly disclosed and no proof of
      damages); McGlinchy v. Shell Chem. Co., 845 F. 2d 808 (discovery closed,
 23
      proffered experts excluded and no proffer of alternatives); Lumens v. GoEco
 24   LED LLC, 2018 WL 1942768 (C.D. Jan, 3 2018) (discovery closed).
 25
      10
         See, e.g., Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Cos., Inc., 210 F.3d
      1099, 1105-06 (9th Cir. 2000) (“The nonmoving party, of course, must have had
 26   sufficient time and opportunity for discovery before a moving party will be
 27   permitted to carry its initial burden of production by showing that the nonmoving
      party has insufficient evidence”); Ahl-E-Bait Media, Inc. v. Jadoo TV, Inc., 12-
 28   05307, 2013 WL 11324312, at *5 (C.D. Cal. Apr. 16, 2013) (collecting cases).
                                             14
                                                         PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   relevant is not when Plaintiffs smelled the odors, but rather when, given the steps
  2   that TMS took to conceal the defect, Plaintiffs discovered “that the HVAC system
  3   in fact had a defect.” Dkt. 50 at 57. Although discovery is ongoing, as described
  4   above, the evidence supports Plaintiffs’ allegations that TMS concealed the HVAC
  5   defect. See Section II. Indeed, TMS still publicly denies any defect, and while
  6   TMS internally recognized the problem and the need for engineering solutions to
  7   address it,
  8
  9                  Ex. H (Hitt Dep. 195:10-196:25). While additional discovery is
 10   needed, TMS cannot defeat tolling on this record.
 11                       1.    Virginia Law
 12         Under Virginia law, the four year statute of limitations for an implied
 13   warranty claim is subject to tolling based upon fraudulent concealment under
 14   principles of equitable estoppel. Winchester Homes, Inc. v. Hoover Universal, Inc.,

 15   39 Va. Cir. 107, 109-10 (Cir. Ct. 1996). As explained by the Virginia Supreme

 16   Court, equitable estoppel applies to bar a statute of limitation defense where a

 17   party that “claim[s] to have been influenced by the conduct or declarations of

 18   another to his injury, was not only ignorant of the true state of facts, but had no

 19   convenient and available means of acquiring such information.” Boykins Narrow
      Fabrics Corp. v. Weldon Roofing and Sheet Metal, Inc., 221 Va. 81, 87 (quoting In
 20
      Lindsay v. James, 188 Va. 646, 659 (1949)). Here, there is no question that
 21
      Plaintiffs “had no convenient and available means of acquiring . . . information”
 22
      about the source of the odor – which TMS continues to deny to this day.
 23
            Similarly, Virginia applies a discovery rule to the accrual of fraud based
 24
      claims. Va. Code § 8.01-249(1). “Often the very fraud which is alleged serves as
 25
      its own cover, lulling the plaintiff into a mistaken sense of propriety.” Pa. Life Ins.
 26
      Co. v. Bumbrey, 665 F. Supp. 1190, 1202 (E.D. Va. 1987) (citation omitted).
 27
      Therefore, it is “only when the fraudulent misrepresentation is discovered or by
 28
                                              15
                                                          PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   exercise of due diligence should have been reasonably discovered that the statute
  2   begins to run.” Id. “Issues of when a fraud should reasonably have been
  3   discovered, as with most issues of reasonableness, are typically best left to the
  4   jury.” Id. (citation omitted).
  5                       2.     Oklahoma Law
  6         Under Oklahoma law, a party may assert equitable estoppel where there is
  7   “any false, fraudulent or misleading conduct or some affirmative act of
  8   concealment to exclude suspicion and preclude inquiry which induces one to
  9   refrain from timely bringing an action.” Melson v. Wachovia Bank, NA, 245 P.3d
 10   77, 80 (Ok. Civ. App. Oct. 22, 2010). Moreover, under Oklahoma law, a cause of
 11   action grounded in fraud “shall not be deemed to have accrued until the discovery
 12   of the fraud.” Horton v. Hamilton, 345 P.3d 357, 363 (Ok. 2015) (quoting 12
 13   O.S.2011, 95(A)(3)). “‘The question of when [a plaintiff] possessed sufficient
 14   information to trigger the running of the statute of limitations is one of fact,’” to be

 15   determined “‘on the basis of the facts and circumstances of the particular case.’”

 16   Lavender v. Craig Gen. Hosp., 308 P.3d 1071, 1077 (Ok. Civ. App. 2013) (quoting

 17   Hawk Wing v. Lorton, 261 P.3d 1122, 1127 (Okla. 2011)).

 18         A defendant is not entitled to summary judgment simply based upon the fact

 19   that a plaintiff has concerns about the defendant’s conduct; instead, the defendant
      must produce evidence “to establish what [the plaintiff] should have discovered”
 20
      within the statute of limitations. Horton, 345 P. 3d 363 (reversing granting of
 21
      summary judgment on statute of limitations ground on a fraud claim finding that
 22
      despite showing that the plaintiff had concerns about the defendant’s conduct, the
 23
      defendant “failed to submit sufficient evidentiary material to establish an
 24
      undisputed accrual date.”). Here, TMS makes no such showing, but simply
 25
      contends that Plaintiffs should have known their HVAC Systems were defective
 26
      when they smelled the odor. This is not sufficient to support summary judgment.
 27
                          3.     Florida Law
 28
                                              16
                                                           PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1         Under Florida law, to succeed on a motion for summary judgment based
  2   upon the Statute of Limitations, the movant must “conclusively show that there
  3   exists no disputed issue of fact with respect to the date of commencement of the
  4   limitations period,” an inquiry which “is, ordinarily, a question of fact which
  5   should be left to the jury.” Bd. of Trustees of Santa Fe Cmty. Coll. v. Caudill
  6   Rowlett Scott, Inc., 461 So. 2d 239, 242–43 (Fla. Dist. Ct. App. 1984).
  7   Additionally, under Florida law “[t]he doctrine of fraudulent concealment will
  8   operate to toll the statute of limitations ‘when it can be shown that fraud has been
  9   perpetrated on the injured party sufficient to place him in ignorance of his right to a
 10   cause of action or to prevent him from discovering his injury.’” Am. Home
 11   Assurance Co. v. Weaver Aggregate Transp., Inc., 990 F. Supp. 2d 1254, 1272
 12   (M.D. Fla. 2013) (quoting Nardone v. Reynolds, 333 So. 2d 25, 39 (Fla. 1976),
 13   modified on other grounds).
 14         TMS has not conclusively established that Plaintiffs should have known that

 15   the HVAC Systems in their vehicles were defective when they first sensed the

 16   odor. Moreover, there is sufficient evidence already in the record, and more to be

 17   gathered as discovery progresses, to demonstrate that TMS actively took steps, as

 18
 19                                          Ex. S.
            D.     There are Triable Issues As to Whether TMS Breached Its
 20
                   Common Law Implied Warranty of Merchantability
 21         Under Florida, Oklahoma, and Virginia law, the implied warranty of
 22   merchantability requires a product to be “reasonably fit for the ordinary or general
 23   purpose intended.” Maronda Homes, Inc. of Florida v. Lakeview Reserve
 24   Homeowners Ass'n, Inc., 127 So. 3d 1258, 1268 (Fla. 2013). See also Perry v.
 25   Lawson Ford Tractor Co., 613 P.2d 458, 463 (Ok. 1980) (implied warranty
 26   requires “that goods operate for their ordinary purpose”); Morgen Indus., Inc. v.
 27   Vaughan, 471 S.E.2d 489, 492 (Va. 1996) (implied warranty requires goods to be
 28
                                              17
                                                          PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   fit for the use to which they would ordinarily be put). This Court has already
  2   recognized that experiencing “noxious and foul odors” can render a vehicle unfit
  3   for its ordinary purpose. Dkt. 50 at 29-31.
  4         Plaintiffs did not purchase vehicles that came in a standard condition – i.e.,
  5   without odor. It is undisputed that Plaintiffs experienced HVAC odor. See Def’s
  6   UF 2; UF 10; UF 19; UF 28; UF 35; UF 42. Plaintiff Beil explained that the odor,
  7   “smells like really sour milk,” “vomit or dirty diapers,” and “dirty gym bag, dirty
  8   gym socks that sort of lingers in the car.” SUF 118. Plaintiff Alley describes the
  9   HVAC odor as a “stinky, dusty smell, musty.” SUF 53. Plaintiff Dey described the
 10   odor as “something moist, dampy . . . like a fungus, kind of fungus.” SUF 76. The
 11   Stockingers recounted a “musty, wet smell,” similar to “mildew or mold” and a
 12   “musty water smell.” SUF 87; SUF 94. Plaintiff Casper complained of a “noxious,
 13   foul odor, moldy, musty, mildewy,” SUF 97. Plaintiff Kennedy and Mr. Barabe
 14   smelled “musty, unpleasant funk, a funky smell, like wet socks,” and “sweet,

 15   moldy, dirty sock-type” respectively. SUF 108; SUF 114. Indeed, TMS internally

 16   acknowledges that having a HVAC system that does not smell “is a basic

 17   requirement of the system” and that it is “challenging to explain why to get what a

 18   customer should expect as a standard condition for the air conditioner (no odor) we

 19   charge more.” SUF 139 (Ex. RR (Carter 13)).
            TMS incorrectly argues that “[a] vehicle is merchantable so long as it is not
 20
      unreasonably dangerous for the use to which it would ordinary be put.” Mot. at
 21
      19 (emphasis added). None of the cases TMS cites require a safety hazard to
 22
      establish a breach of implied warranty 11. Indeed, as this Court made clear in its
 23
 24   11
        For example, TMS cites All Underwriters Subscribing to Policy of Ins. No.
 25   B0621MMILSYB15055 v. Rika Boats Ltd., 16-20498, 2017 WL 1439944 (S.D.
      Fla. Jan. 20, 2017) to support its implied warranty argument under Florida law;
 26   however, the court in Rika Boats nowhere mentions that a plaintiff must establish
 27   a safety hazard. Rather, as the Florida Supreme Court explained in Maronda
      Homes, Inc. of Fla. v. Lakeview Reserve Homeowners Ass'n, Inc., 127 So. 3d
 28   1258, 1268-1269 (Fla. 2013), the test for the implied warranty of fitness or
                                             18
                                                        PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   Opinion, the touchstone of merchantability is fitness for ordinary purpose and
  2   whether the product would pass without objection in trade. Dkt. 50 at 29-31
  3   (citing cases). Quite simply, nobody expects to have putrid air blown into their
  4   passenger cabin from their vehicles’ HVAC Systems.
  5         TMS also misstates the standard for breach of implied warranty under
  6   Oklahoma and Virginia law. Again, neither Hyundai Motor Co., Ltd. v. Duncan,
  7   766 S.E. 2d 893 (Va. 2015) nor Miller v. Gen. Motors Co., 2013 WL 11247612
  8   (W.D. Okla. May 16, 2013) require a safety hazard to demonstrate
  9   unmerchantability. While the courts in both Miller and Duncan examined implied
 10   warranty claims in connection with airbags, the courts’ decisions turned on
 11   whether the plaintiffs could link their personal injuries to the defect – not whether
 12   implied warranty claims can be asserted in the absence of a safety hazard. More on
 13   point are In re Gen. Motors Corp., 2005 WL 1924331, at *2 (W.D. Okla. Aug. 8,
 14   2005) and Barber v. Sam's Club E., Inc., 2017 WL 4479221, at *3 (W.D. Va. Oct.

 15   6, 2017), where the courts reiterated the general standard for breach of implied

 16   warranty—namely whether the vehicle would “pass without objection in the trade”

 17   and whether the car buying public would object to purchasing vehicles with the

 18   defect at issue. The answer to these questions, as the court recognized in Barber, is

 19   “normally a jury question.” Barber, 2017 WL 4479221, at *3 (citing Bayliner
      Marine Corp. v. Crow, 257 Va. 121, 128–29 (1999)).
 20
            Further, Kennedy, Alley, and Casper’s implied warranty claims do not fail
 21
      for lack of pre-suit notice. In Virginia and Florida, manufacturers are not the
 22
      “sellers” to whom notice must be given to assert breach of warranty claims. 12 In
 23
 24   merchantability is simply whether the product “meet[s] ordinary, normal
 25   standards reasonably to be expected.”
      12
         See, e.g., Board of Directors of Bay Point Condominium Ass’n, Inc. v. RML
 26   Corp., 57 Va. Cir. 295, 317 (2002) (buyer is not required to give notice to
 27   manufacturer who is not the seller); Kerr v. Hunter Division, 32 Va. Cir. 497,
      508 (1981) (notice required to sellers, not remote manufacturers); Fed. Ins. Co. v.
 28   Lazzara Yachts of N. Am., Inc., 2010 WL 1223126, at * 5 (M.D. Fla. Mar. 25,
                                             19
                                                         PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   Oklahoma, the filing of a complaint by retail customers is sufficient notice. 13
  2         E.     There are Triable Issues of Material Fact on Plaintiff Dey and
  3                Plaintiff Beil’s Song-Beverly Warranty Claims
            California’s Song-Beverly Act was enacted “to regulate warranties and
  4
      strengthen consumer remedies for breaches of warranty.” Keegan v. Am. Honda
  5
      Motor Co., Inc., 838 F. Supp. 2d 929, 944 (C.D. Cal. 2012). “The [Song-Beverly
  6
      Act] is a remedial measure intended for the protection of consumers and should be
  7
      given a construction consistent with that purpose.” Brand v. Hyundai Motor Am.,
  8
      226 Cal. App. 4th 1538, 1545 (Cal. Ct. App. 2014). On this record, TMS is not
  9
      entitled to summary judgment on plaintiff Dey and Beil’s Song-Beverly claims.
 10
                  1. The Fact that a Consumer Continues to Use a Product Does
 11                  Not, As a Matter of Law, Mean the Product is Merchantable
 12         As with other states, under California law, a defendant breaches the
 13   implied warranty of merchantability if the product is not “fit for the ordinary
 14   purposes for which such goods are used.” Cal. Civ. Code § 1791.1(a). California
 15   courts are clear that a car is not “merchantable” simply because it “provides
 16   transportation.” See Isip v. Mercedes-Benz USA, LLC, 155 Cal. App. 4th 19, 27
 17   (2007) (“We reject the notion that merely because a vehicle provides
 18   transportation from point A to point B, it necessarily does not violate the implied
 19   warranty of merchantability.”).
 20         By string citing cases such as Cholakyan v. Mercedes-Benz USA, LLC, 796
 21   F. Supp. 2d 1220, 1243-44 (C.D. Cal. June 30, 2011) and Ehrlich v. BMW of
 22   North America, LLC, 801 F. Supp. 2d 908, 918, 923-24 (C.D. Cal. Aug. 11, 2010)
 23   that “emphasi[zed] potential safety risks,” TMS implies that a vehicle is unfit for
 24   its ordinary purpose of transportation only if the vehicle is unsafe or poses a
 25
 26   2010) (finding “[t]he plan language of the statute . . . does not require notice to a
 27   manufacturer”); In re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 977-
      79 (N.D. Cal) (following Bay Point Condo, Kerr, and Lazzara).
 28   13
         Sisemore v. Dolgencorp, LLC, 212 F. Supp. 3d 1106, 1111 (N.D. Okla. 2016).
                                              20
                                                          PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   health risk. Motion at 22. Not so. Plaintiffs can satisfy breach of implied warranty
  2   by showing a risk of safety, but Plaintiffs are not required to prove that their
  3   vehicles are unsafe or pose a health risk to establish a breach of implied warranty.
  4         For example, in Isip, the court held that a vehicle that “smells, lurches,
  5   clanks, and emits smoke over an extended period of time is not fit for its intended
  6   purpose.” Isip, 155 Cal. App. 4th at 27. See also Brand, 226 Cal. App. 4th at
  7   1546 (citing Isip); Bryde v. Gen. Motors, LLC, 2016 WL 6804584, at *15 (N.D.
  8   Cal. Nov. 17, 2016) (observing that “[c]ourts have found a range of defects that
  9   make a vehicle unfit for its ordinary purpose”, including a spontaneously opening
 10   sunroof, a noisy timing chain, an engine that uses too much oil”). As this Court
 11   has recognized in other cases against TMS, “whether the vehicle was fit for
 12   driving,” includes whether or not it “provides for a minimum level of quality.”
 13   Tae Hee Lee v. Toyota Motor Sales, U.S.A., Inc., 992 F. Supp. 2d 962, 980 (C.D.
 14   Cal. 2014) (quoting Am. Suzuki Motor Corp. v. Sup. Ct., 37 Cal. App. 4th 1291,
 15   1296 (1995)).
 16         That plaintiffs Dey and Beil continue to use their vehicles does not
 17   preclude or undermine their breach of implied warranty claim. For a violation of
 18   implied warranty, there is no requirement that “the alleged defect must preclude
 19   any use of the product at all.” Stearns v. Select Comfort Retail Corporation,
 20   2009 WL 1635931 at *8 (N.D. Cal. 2009) (“As in Isip, the fact that a person still
 21   may sleep on a moldy bed does not bar as a matter of law a claim for breach of
 22   implied warranty of merchantability.”). The fact that a consumer continues to use
 23   the product does not, as a matter of law, render the product merchantable. Id.
 24
                 2. Whether Plaintiffs’ Vehicles are “Merchantable” is a Disputed
 25                 Question of Fact to be Decided by the Jury.
 26         Whether or not a vehicle is “merchantable” is a question of fact. See
 27   Galitski v. Samsung Telecommunications America, LLC, No. 3:12-CV-4782,
 28   2015 WL 5319802 *10 (N.D. Texas, Sept. 11, 2015) (“Whether a product is unfit

                                            21
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  1   for its ordinary purpose is a question of fact for the jury”) (citing Brand v.
  2   Hyundai Motor Am., 226 Cal. App. 4th 1538, 1547 (2014) as modified on denial
  3   of reh'g (July 16, 2014)).
  4         Plaintiff Dey and Beil’s own testimony confirms the severity of the
  5   “noxious and foul odors” plaintiffs Dey and Beil allege in their complaint and
  6   establishes triable issues of fact with respect to whether their vehicles meet a
  7   “minimum level of quality,” regardless of whether they are still drivable. As
  8   plaintiffs Beil testified, the HVAC System in his vehicle emits an odor that smells
  9   like “really sour milk… vomit or dirty diapers,” and like a “dirty gym bag, dirty
 10   gym socks.” SUF 118. Beil further testified that the smell is so powerful that “I
 11   think a person who is noseblind would smell this odor. No matter what your
 12   sensitivity is, there’s certain things that just go beyond any calibration of
 13   someone’s sense of smell. This is one of them.” SUF 119; Ex. JJ. (Beil Dep. at
 14   89:10-14). Plaintiff Dey further explained that the smell is “obnoxious,” like
 15   “mold” or a “fungus smell,” similar to “stagnant water” in an “old house” with
 16   “no ventilation for a long time” SUF 68. Dey further testified that the odor
 17   sometimes manifests as a “burning insect smell” and a “very bad” smell. Id. at
 18   119:6. For both Dey and Beil, the smell was constant and lingered for the whole
 19   ride. SUF 77; SUF 120.
 20         Despite these odors, plaintiffs Dey and Beil continue to use the HVAC
 21   system. As Dey explained: “I have no choice. I have to continue to use it” (Ex.
 22   CC at 124:5-18); “[w]e need something to drive.” Ex. JJ at 24:13. Beil refuses to
 23   drive the vehicle and his wife only uses the vehicle for short errands, and refrains
 24   from using the vehicle for long trips. SUF 129. Plaintiff Beil has also attempted
 25   on multiple occasions to get Toyota to address the issue to no avail and also has
 26   been unable to sell has car because of the odor. SUF 121-128. Plaintiff Beil
 27   testified that he would not have purchased his vehicle had he known of the
 28
                                            22
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  1   HVAC odor. SUF 130. Plaintiff Dey would only have purchased the car at a 90%
  2   discount. SUF 78.
  3         Plaintiffs are not alone in their complaints about the HVAC odor.
  4   According to Toyota’s own documents, customers have complained that the
  5   HVAC odor does not meet their expectations of a vehicle interior free of
  6   unpleasant and potentially toxic fumes. For example,
  7                                           SUF 36 (Ex. U). Another told Toyota
  8
  9
 10                                    SUF 37 (Ex. V). Yet another
 11
 12
 13           SUF 38 (Ex. W).
 14         To the extent that merchantability requires goods to be safe as well as
 15   reliable, there are also triable issues of fact with respect to whether the HVAC
 16   odor poses a safety risk.      As this Court has noted, Plaintiffs must only
 17   demonstrate there is a possible safety hazard, not that Plaintiffs or anyone else
 18   was actually injured. Dkt. 50 at 50 (“plaintiffs sufficiently allege an unreasonable
 19   safety hazard”). Health concerns associated with mold and other organic,
 20   microbial growth are a matter of public record. See Okçuoğlu Decl., Ex. 1 (Initial
 21   Report at 15-16). Both Dey and Beil believe that the HVAC defect presents a risk
 22   to their health. See, e.g., SUF 79; SUF 131. Plaintiff Beil is concerned both with
 23   the risk of mold exposure as well as the risks presented by Toyota’s
 24   recommendations for mitigating the HVAC defect. SUF 131.                    Authoritative
 25   sources confirm that bacteria and other microbes in HVAC Systems cause putrid
 26   odors. SUF 41 (Ex. X); SUF 42-43 (Ex. Y); SUF 44 (Ex. Z); Dkt No. 140-12, at
 27   Page 68). These issues will be further explored as discovery continues and full
 28
                                            23
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  1   merits reports are produced.
  2         The foregoing facts raise triable issues that are more than sufficient to
  3   defeat summary adjudication. A trier of fact should determine whether the alleged
  4   defect has impaired the named Plaintiffs’ use of their vehicles to a degree
  5   sufficient to render their vehicles unmerchantable.
  6         F.    There are Triable Issues on Plaintiffs’ MMWA Claims
  7               1.   TMS’ Motion Fails Regarding the State Law Warranty
                       Claims and Thus Fails as to Plaintiffs’ MMWA Claims
  8
            Because summary judgment must be denied as to the implied warranty
  9
      claims, summary judgment also must be denied as to Plaintiffs’ MMWA claims.
 10
      See Clemens v. DaimlerChrysler Corp., 534 F.3d 1017 (9th Cir. 2008) (finding
 11
      claims under the MMWA stand or fall with express and implied warranty claims).
 12
                  2.     Plaintiffs’ MMWA Claims Do Not Fail for
 13                      Lack of Pre-Suit Notice
 14         Pursuant to MMWA §2310(e), plaintiffs bringing class actions are not
 15   required to provide a pre-suit opportunity to cure but instead must do so “once the
 16   Court determines that the named plaintiffs are adequate representatives under Rule
 17   23(a)(4).” In re ALMA Litig., 320 F.Supp. 3d 578, 596 (S.D.N.Y. 2018). See also
 18   In Re Porsche Cars N. Am. Inc. Plastic Coolant Tubes Prods. Liab. Litig., 880 F.
 19   Supp. 2d 880, 824- 826 (S.D. Ohio 2012) (observing that the “plain language of
 20   the statute imposes different requirements on individual plaintiffs and class action
 21   plaintiffs regarding the time at which they must satisfy the opportunity to cure
 22   requirement,” and noting that any court dismissing class action for failure to

 23   provide pre-suit notice “failed to account for this language in the statute.”).

 24   Accordingly, there is no basis for granting summary judgment based upon MMWA

 25   §2310(e). Notice can be provided any time before class certification.
           G.    There are Triable Issues of Material Fact on Plaintiffs’ CLRA
 26              Claims 14
 27   14
        In a footnote, Toyota states that “Beil presently does not assert a claim under
 28   the CLRA because he never amended his complaint to seek damages under the
                                            24
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  1                1.    The CLRA Applies to Purchases Outside of California
  2         California courts routinely recognize that out-of-state plaintiffs may seek
  3   recovery under California consumer protection laws where the wrongful conduct at
  4   issue occurred in California.15 Here, discovery is still ongoing, but there is strong
  5   evidence that the locus of wrongful conduct — i.e., Toyota’s marketing and sales
  6   of Class Vehicles containing defective HVAC Systems while concealing the defect
  7
  8   CLRA” and that “even if asserted, his CLRA claim is meritless for the same
      reasons set forth herein.” Mot. at p. 23, fn. 5. Plaintiff Beil does assert a CLRA
  9   claim, and respectfully requests that the Court confirm so in its MSJ Order.
 10   When Plaintiff Beil’s action was consolidated with the Stockinger v. Toyota
      action, in lieu of filing an amended complaint, Plaintiff Beil and Toyota
 11   stipulated to making Beil’s claims subject to the Court’s ruling on Toyota’s
 12   Motion to Dismiss First Amended Complaint, where this Court sustained the
      Plaintiffs’ CLRA claims and dismissed their California Unfair Competition Law
 13
      claim and claims for equitable relief. See Dkt. Nos. 50, 105. The Stipulation and
 14   Order enumerated the claims that Plaintiff Beil was stipulating to dismiss—his
      UCL claim and claims for equitable relief—and did not make any reference to
 15
      Plaintiff Beil’s CLRA claim, as Plaintiffs’ CLRA claims were sustained in the
 16   Court’s Motion to Dismiss Order. See Dkt. 106, July 16, 2018 (“1. Plaintiff
      Beil’s claims and relief are subject to this Court’s ruling on Toyota’s Motion to
 17
      Dismiss the First Amended Complaint in the Stockinger Action (Dkt. 50); 2.
 18   Plaintiff Beil’s California Unfair Competition Law claim is hereby dismissed; 3.
      Plaintiff Beil’s claims for equitable relief are hereby dismissed.” Given that the
 19
      purpose of the Parties’ Stipulation was to streamline the consolidation process by
 20   obviating the need to file a further amended consolidated complaint in the
      Stockinger action and to brief a second, identical Motion to Dismiss, the fact that
 21
      Mr. Beil did not amend his individual complaint does not, and should not, in
 22   fairness, eliminate his CLRA claim.
      15
         See, e.g., In re iPhone 4S Consumer Litig., 2013 WL 3829653, at *7 (N.D.
 23
      Cal. July 23, 2013) (California “state statutory remedies may be invoked by out-
 24   of-state parties when they are harmed by wrongful conduct occurring in
 25   California”) (citation omitted)); In re Mattel, 588 F. Supp. 2d 1111, 1119 (C.D.
      Cal. 2008) (non-California plaintiffs may assert California state law claims
 26   where conduct occurred in California); In re Static Random Access Memory
 27   (SRAM) Antitrust Litig., 580 F. Supp. 2d 896, 905 (N.D. Cal. 2008) (same); In re
      Clorox, 894 F. Supp. 2d 1224, 1238 (N.D. Cal. 2012) (same); Gianino v. Alacer
 28   Corp., 2010 WL 11468710, at *2 (C.D. Cal. Aug. 4, 2010) (same).
                                             25
                                                         PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   from consumers — emanated from Toyota’s headquarters in California. Indeed, it
  2   was a TMS executive who, in furtherance of Defendant’s efforts to defraud and
  3   conceal the HVAC odor defect,
  4
  5
  6                                  Ex. S.
  7         Toyota’s reliance on Mazza v. Am. Honda Motor Co., 666 F.3d 581 (9th Cir.
  8   2012) is misplaced. First, Mazza was not decided on a motion for summary
  9   judgment; rather, Mazza was considered in connection with class certification and
 10   examined whether differences between state consumer protection laws precluded
 11   certification. See Mazza, 666 F.3d at 594. Additionally, the Mazza court did not
 12   hold that California’s consumer protection statutes cannot apply to out-of-state
 13   purchases; instead, the court held under the facts of that case and a choice of law
 14   analysis, that each class member’s consumer protection claim should be governed

 15   by the state where the transaction took place. In the face of inapposite law, Toyota

 16   attempts to conflate the issue, setting forth an unnecessary and premature choice of

 17   law analysis that would indicate California law does not apply. Mot. at 24-26.

 18   This is irrelevant, as California courts have declared that California consumer

 19   protection laws apply to wrongful conduct occurring in California, even where the
      product at issue was purchased out of state. As such, this is an issue for class
 20
      certification, not summary judgment.
 21
                  2.     CLRA Claims are Tolled Pursuant to the Discovery Rule
 22
            The CLRA statute of limitations is subject to the discovery rule.
 23
      Chamberlan v. Ford Motor Co., 369 F. Supp. 2d 1138, 1148 (N.D. Cal. 2005)
 24
      (noting that the statute of limitations for CLRA claims runs “from the time a
 25
      reasonable person would have discovered the basis for a claim.”) (internal
 26
      quotations omitted). “The question when a plaintiff actually discovered or
 27
      reasonably should have discovered the facts for purposes of the delayed discovery
 28
                                              26
                                                        PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   rule is a question of fact unless the evidence can support only one reasonable
  2   conclusion.” Ovando v. Cnty. of Los Angeles, 159 Cal.App.4th 42, 61, 71
  3   Cal.Rptr.3d 415 (2008). Here, there remains a triable issue of material fact as to
  4   when a reasonable person would have discovered the basis of their CLRA claims.
  5         TMS contends that plaintiffs Kennedy, Alley and Casper’s CLRA claims
  6   began to run when they first suspected something was wrong due to the HVAC
  7   odor. Mot. at 26. But, as the court in Chamberlan observed, “[t]he mere fact that
  8   a consumer's manifold failed does not necessarily mean that that person should
  9   have discovered Defendant's alleged non-disclosure at that time.” Chamberlan,
 10   369 F. Supp. 2d at 1148. While Plaintiffs may have experienced HVAC odor,
 11   Toyota’s repeated denial that it was defective impeded any possibility that
 12   Plaintiffs would discover they had claims under the CLRA.
 13                3.     Triable Issues of Fact Regarding Materiality and
                          Safety Defeat Summary Judgment.
 14
            With respect to a safety concern, this Court has found that a “[f]ailure to
 15
      disclose defects that manifest before the end of a seller’s warranty is a violation of
 16
      the CLRA ‘if the defendant has exclusive knowledge of material facts not known
 17
      or reasonably accessible to the plaintiff.” Dkt. 50 at 48 (“On the other hand, to
 18
      state a claim for failure to disclose a defect that manifests after a seller’s warranty
 19
      ends, the defect must relate to the product’s safety.”) TMS argues that Williams,
 20
      851 F.3d 1015(9th Cir. 2017) (“Williams”) precludes this and other courts from
 21
      treating fraudulent omissions cases differently depending on whether the claim
 22
      arose post-warranty or in-warranty, arguing that “Williams made no such
 23
      distinction.” Mot. at 27. This is wrong on both counts.
 24
            Williams quoted Apodaca v. Whirlpool Corp., 2013 WL 6477821, *9 (C.D.
 25
      Cal. 2013), which explained that “a key fulcrum in the duty to disclose analysis” is
 26
      “the expiration of the warranty.” See Williams, 851 F.3d at 1025-26. In turn, the
 27
      Apodaca court agreed with Decker v. Mazda Motor of America, Inc., 2011 WL
 28
                                              27
                                                          PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   510705, *4 (C.D. Cal. 2011) that the duty to disclose analysis is a two-step
  2   process: “First, a manufacturer has a duty to disclose any defects that fall within
  3   the warranty period, whether relating to safety or to costly repairs, that would have
  4   caused the consumer to not purchase the car if they had been disclosed. Second, a
  5   manufacturer also has a duty to disclose safety issues that fall outside of the
  6   warranty period.” Apodaca, 2013 WL 3477821 at *7.
  7         Other courts have similarly held that a plaintiff alleging a product defect
  8   which manifests during the warranty period need not allege that the defect posed a
  9   safety concern. See Tait v. BSI Home Appliance Corp., 289 F.R.D. 466, 488-89
 10   (C.D. Cal. 2011) (rejecting notion that safety related defect must be alleged for
 11   defects arising during the warranty period); Rasmussen v. Apple, 27 F.Supp.3d
 12   1027, 1038-39 (N.D. Cal. 2014) (“A number of courts have noted that the ‘safety
 13   concern’ requirement for a fraudulent omission claim under the CLRA does not
 14   apply where the defect in question arises during the products' warranty period.”);
 15   Elias v. Hewlett-Packard Co., 950 F.Supp.2d 1123, 1136 (N.D. Cal. 2013)
 16   (“Plaintiff may allege fraudulent omissions beyond safety-related concerns if those
 17   omissions led to malfunctions during the warranty period.”).
 18         Judge Olguin’s opinion is Salas is instructive. Ex. NN. In Salas, another
 19   HVAC odor lawsuit against TMS, the Court denied the Defendant’s Motion for
 20   Summary Judgment, finding that a safety concern was not required to establish a
 21   duty to disclose, since the HVAC defect manifests during the warranty period. Id.
 22   Toyota argued that Williams compelled a different result. The Court in Salas
 23   disagreed, and ruled in the plaintiffs’ favor.
 24         Here, as in Salas, it is undisputed that Plaintiffs’ vehicles were within their
 25   express warranty periods at the time the HVAC Defect manifested. See UF 2; UF
 26   10; UF 19; UF 28; UF 35; UF 42. Accordingly, TMS had a duty to disclose
 27   material facts regarding the HVAC defect, notwithstanding its safety implications.
 28   “In order for non-disclosed information to be material, a Plaintiff must show that
                                              28
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  1   had the omitted information been disclosed, one would have been aware of it and
  2   behaved differently.” Falk v. GMC, 496 F. Supp. 2d 1088, 1095 (N.D. Cal. 2007).
  3   The evidence raises, at a minimum, a disputed issue of fact as to whether, had they
  4   known of the HVAC defect, Plaintiffs would have acted differently.
  5         Lastly, even if a safety hazard was required for in-warranty claims (which
  6   it is not), Plaintiffs’ expert has submitted competent evidence of a design defect
  7   which creates an “ideal breeding habitat for organic matter” including “microbes,
  8   bacteria, mold, and fungus. Okçuoğlu Decl., Ex. 1 (Initial Report. at p. 14); See
  9   also SUF 41 (Ex. X); SUF 42-43 (Ex. Y); SUF- 44 (Ex. Z); Dkt No. 140-12, at
 10   Page 68). The defect is unreasonably hazardous in that it causes a risk of
 11   microbial or mold growth, with the resulting unhealthy by-products blowing
 12   directly into the driver’s face in the enclosed vehicle cabin. See Id., generally.
 13                4.    Triable Issues Exist Regarding Actual Reliance
 14         To prove reliance on an omission, a plaintiff need not prove that the
 15   omission was the only cause or even the predominant cause, only that it was a
 16   substantial factor in his decision. Daniel v. Ford Motor Co., 806 F.3d 1217, 1225
 17   (9th Cir. 2015). “A Plaintiff may [prove reliance] simply by proving ‘that, had the
 18   omitted information been disclosed, one would have been aware of it and behaved
 19   differently.”’ Id. “Furthermore, actual reliance may be presumed [where] the
 20   alleged [] defect is material.” In re Toyota Motor Corp., 790 F. Supp. 2d 1152,
 21   1169 (C.D. Cal. 2011).
 22         Evidence that a Plaintiff “interacted with and received information from
 23   sales representatives at authorized [Toyota] dealerships” before purchase is
 24   sufficient to sustain a factual finding that Plaintiffs would have been aware of
 25   disclosures. Id. Plaintiffs have presented such evidence. See SUF 61 (Alley
 26   received general information and brochures from sales representative); SUF 70-71
 27   (Dey reviewed Toyota’s website, which including information on the HVAC
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                                             29
                                                          PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   system and talked to representatives at Toyota dealership); SUF 84-85
  2   (Stockingers test drove the vehicle and spoke with sales representative at Toyota
  3   dealership regarding their vehicle’s features); SUF 102 (Casper spoke to sales
  4   representatives at a number of Toyota dealerships); SUF 115 (Barabe test drove the
  5   vehicle multiple times); SUF 133-134 (Beil reviewed disclosures on Lexus
  6   website, read the brochure, and test drove the vehicle). Moreover, irrespective of
  7   interaction with a dealership salesperson, a pre-purchase review of a “brochure,
  8   website, or promotional material that might have contained a disclosure of the
  9   [HVAC] defect” also supports a finding of actual reliance under the CLRA. See
 10   Ehrlich v. BMW of N. Am., LLC, 801 F. Supp. 2d 908, 919-20. Here, all of the
 11   Plaintiffs purchased their vehicles from authorized Toyota dealership, reviewed
 12   promotional materials, and spoke with dealership sales representatives in the
 13   process. See SUF 61; SUF 70-71; SUF 84-85; SUF 102; SUF 115; SUF 133-134.
 14   Accordingly, Plaintiffs’ testimony establishes ample triable facts regarding
 15   reliance.
 16         In an apparent effort to create a smokescreen and escape Daniel’s clear
 17   finding, TMS asked the Plaintiffs at deposition where they would have liked to
 18   learn more about the HVAC defect, and now argues that Plaintiffs’ speculative
 19   answers, as consumers, somehow vitiate reliance. Mot. at 28. For example, TMS
 20   argues that, because Plaintiff Beil testified that he thinks Toyota should have
 21   posted its HVAC Odor TSB on Toyota’s website, and because, in Toyota’s view,
 22   the TSB is unrelated to the HVAC defect, Plaintiff Beil lacks reliance. Mot. at 29.
 23   But Beil also did extensive pre-purchase research, including reviewing Toyota’s
 24   website information regarding his vehicle, speaking with Toyota dealership
 25   salespeople, and test driving his vehicle. SUF 133-134.
 26         Similarly, TMS argues that, because the Stockinger Plaintiffs “state that the
 27   disclosure should have been made during the sales process,” they lack reliance
 28
                                            30
                                                        PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   because “these interactions were solely with independent dealerships—not
  2   Toyota.” Mot. at 28. But like all Plaintiffs, as well as the Plaintiffs in Daniel, the
  3   Stockinger Plaintiffs purchased their vehicle from a Toyota-authorized dealership.
  4   Likewise, TMS argues that plaintiff Dey lacks reliance because he “admits that he
  5   did not rely on any statements contained in the Toyota.com” website or anything
  6   related to the HVAC system. Id. This misstates Plaintiff Dey’s testimony – Dey did
  7   not testify that he did not rely on any statements on the Toyota.com website; in
  8   fact, Plaintiff Dey researched his Subject Vehicle on Toyota’s corporate website
  9   prior to purchase, where he reviewed information about the air conditioning system
 10   as well as safety features. SUF 70.
 11         Finally, TMS argues that because the Stockingers and Alley “were aware of
 12   the potential for HVAC Odor in automobiles” before purchase, they lack reliance.
 13   Id. Not so. Toyota was obligated to disclose all material facts, including the fact
 14   that the Subject Vehicles’ HVAC system was defectively designed such that it
 15   “allows condensing water to accumulate and allows naturally present organic
 16   contaminants to be trapped, kept moist and cultivate organic matter such as
 17   microbes, bacteria, mold and fungus . . . creating an ideal breeding habitat for
 18   organic matter . . . [and] . . . strong unpleasant fumes and odor.” Okçuoğlu Decl.,
 19   Ex. 1 (Initial Report at 14). Plaintiffs’ vague awareness of the potential for
 20   undefined “HVAC odor” does not negate TMS’ omissions of material facts
 21   regarding a systemic defect, particularly in light of the triable factual issues
 22   described above.
 23         H.     There are Triable Issues of Material Fact on Plaintiffs’ State Law
 24                Consumer Protection Claims
                   1.   Washington
 25
            To prevail on a consumer protection act claim under Washington law, “[a]
 26
      plaintiff must establish that, but for the defendant’s unfair or deceptive practice,
 27
      the plaintiff would not have suffered an injury.” Indoor Billboard/Wash., Inc. v.
 28
                                             31
                                                         PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   Integra Telecom of Wash., Inc., 162 Wn.2d 59, 83 (2007). The Stockingers have
  2   presented sufficient evidence to bring this claim to a jury. Elizabeth Stockinger
  3   testified that, had she known of the Defective HVAC System, she possibly would
  4   not have purchased her vehicle or paid less for it, and further, that she wanted to
  5   purchase a vehicle that performed at a “standard level.” SUF 83; SUF 89.
  6         As TMS acknowledged internally, no reasonable consumer expects to
  7   purchase a vehicle with an HVAC System that emits foul and noxious odors. To
  8   the contrary, TMS acknowledges that “a customer should expect as a standard
  9   condition for the air conditioner (to not emit odor).” Ex. RR (Carter 13).
 10   Accordingly, based on the facts here, a jury must decide whether the Stockingers
 11   were harmed by Defendant’s practices. See Zwicker v. Gen. Motors Corp., No. 07-
 12   cv-291, 2007 WL 5309204, at *1 (W.D. Wash. July 26, 2007) (plaintiffs
 13   adequately alleged WCPA claim where knowledge of the concealed defect would
 14   have impacted their decisions to purchase the vehicles); In re Porsche Cars N.

 15   Am., Inc., 880 F.Supp.2d 801, 880 (S.D. Ohio 2012) (upholding WCPA claim

 16   where plaintiff alleged that “had the consumer known of the undisclosed

 17   information, it would have affected his or her purchasing the decision”).

 18               2.     Florida

 19         With respect to Casper’s FDUPTA claims, TMS again argues for dismissal
      based on the lack of an expert opinion calculating damages. Mot. at 30-31. Again,
 20
      TMS’ motion is premature. See Section III; 56(d) Declaration. Judgment as a
 21
      matter of law is inappropriate on a FDUTPA claim and the defendant’s underlying
 22
      unfair practice when discovery is still ongoing. See AT&T Mobility, LLC v. Digital
 23
      Antenna, Inc., 2010 WL 11506068, at *20, 24 (S.D. Fla. Feb. 9, 2010) (declining
 24
      to dismiss FDUTPA claims predicated on tortious interference and trademark
 25
      infringement). Moreover, FDUPTA also provides for injunctive relief, for which a
 26
      plaintiff need not prove actual damages. See Ahearn v. Mayo Clinic, 180 So. 3d
 27
      165, 172–73 (Fla. 1st DCA 2015)) (noting that FDUTPA’s injunctive relief
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  1   provision does not require a showing of damages and provides broader relief).
  2                3.    Virginia
  3         TMS’ also argues that Kennedy cannot prove a loss under the VPCA
  4   without expert testimony; however, TMS’ argument is contradicted by the very
  5   case it cites. As the court explains in Nigh v. Koons Buick Pontiac GMC, Inc., 143
  6   F. Supp. 2d 535, 546 (E.D. Va. 2001), “[e]xpert testimony is not necessary to
  7   prove statutory amounts” as “a factfinder can rely on the documents submitted by
  8   the parties and other testimonial evidence to calculate damages for the Virginia
  9   Consumer Protection Act, breach of contract, fraud, and conversion claims.”
 10         Moreover, TMS has otherwise mischaracterized the holding of Nigh, in
 11   which plaintiff conceded he had no evidence of an inaccurate odometer. Id. at 553.
 12   In contrast to Nigh, Kennedy has testified that that she has been harmed by “buying
 13   a vehicle with a problem,” and “having a vehicle with a known problem and not
 14   being told and breathing a really bad odor for a very extended period of time.” Ex.
 15   HH (Kennedy Dep. 111:3-22).           As her husband, Timothy Barabe, further
 16   explained, they “would not have bought the car had we known about the problem,
 17   and therefore the car is worth less because of the problem.” SUF 117.
 18         I.     Fraudulent Non-Disclosure
 19                1.   Plaintiffs Raise a Triable Issue of Material Fact Concerning
                        Exposure to and Reliance on a Material Omission
 20
            As set forth above in Sections IV.A, V.G.3 and V.G.4, the evidence to date
 21
      demonstrates that there are triable issues of fact regarding Plaintiffs’ exposure to
 22
      and reliance on a material omission. First, as detailed in Section A, it is undisputed
 23
      that all Plaintiffs experienced HVAC odor. TMS acknowledges that HVAC odor is
 24   a problem and has attempted to implement countermeasures to address the issue.
 25   These countermeasures only provided incremental improvements, but failed to
 26   address the root cause of the odor—the HVAC Systems’ design.                         Indeed,
 27   Plaintiff’s expert concluded that HVAC Systems installed in the Subject Vehicles
 28
                                             33
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  1   contain several defective design features which inhibit proper draining and airflow
  2   and thus promote the accumulation of water and moisture and an environment
  3   leading to HVAC odor. See Okçuoğlu Decl. Ex. 1 (Initial Report, at 42-43). As
  4   such, there are triable issues concerning the fact of HVAC odor in the Plaintiffs’
  5   Subject Vehicle, and thus, whether failure to disclose the HVAC odor was a
  6   material omission.
  7         The evidence further shows that when the Plaintiffs purchased their vehicles
  8   from an authorized TMS dealership, they spoke to a sales representative, and at no
  9   point in time, was it disclosed that their vehicles would have an HVAC odor. SUF
 10   58; SUF 73.        Had they been aware of their vehicles possessed HVAC odor, the
 11   Plaintiffs would have taken different steps in purchasing their vehicles. See e.g.,
 12   SUF 66, 78, 89, 117, 130. This evidence raises triable issues as to Plaintiffs’
 13   reliance on TMS’ intentional concealment of the HVAC odor.
 14                 2.       Plaintiffs Raise a Triable Issue of Material Fact Concerning
                             Defendant’s Intent to Defraud
 15
            Defendant’s assertion that there is no evidence that TMS was aware of the
 16
      HVAC defect and intentionally concealed it is belied by their own documents,
 17
      testimony and reports. 16 As set forth above in Section V.A, the evidence shows
 18
      that TMS was aware of the HVAC Odor problem since at least 1997 and
 19
      intentionally concealed it, by claiming, inter alia, that HVAC odor is naturally
 20
      occurring. In fact, TMS took certain actions to avoid remedying the issue
 21
 22
                         SUF 25 (Ex. J (Young Dep. 76:9-82:4; 121:22-122:6)). The fact that
 23
      TMS discloses different information to its dealers, via TSBs, about the HVAC
 24
      Odor problems than it discloses to customers by way of owners’ manuals, further
 25   shows a concerted effort to keep the truth from the public. Further, Plaintiff’s
 26
 27
      16
        Plaintiffs have not had the opportunity for full discovery of additional facts
      concerning TMS’s knowledge and intent in concealing the HVAC odor. See 56(d)
 28   Affidavit.
                                               34
                                                           PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1   expert’s findings that, to solve the HVAC odor problem, the HVAC Systems need
  2   to be redesigned, is consistent with Toyota’s internal acknowledgements. This
  3   evidence, alone, raises triable facts regarding TMS’ intent to defraud, and will be
  4   bolstered by continued discovery.
  5         J.    Negligent Misrepresentation
  6               1.    An Omission Can Serve as a Basis of a Negligent
                        Misrepresentation Claim
  7
            TMS incorrectly states that negligent misrepresentation claims cannot be
  8
      based on omissions. Mot. at 34. To the contrary, a plaintiff may proceed on a
  9   negligent omission claim where, as here, the plaintiff has established fraudulent
 10   omission based on a duty to disclose. See In re Libor-Based Fin. Instruments
 11   Antitrust Litig., No. 11 MDL 2262 NRB, 2015 WL 4634541, at *63 (S.D.N.Y.
 12   Aug. 4, 2015), amended sub nom. In re LIBOR-Based Fin. Instruments Antitrust
 13   Litig., No. 11 MDL 2262 (NRB), 2015 WL 13122396 (S.D.N.Y. Oct. 19, 2015)
 14   (applying California law).   As discussed above, TMS had a duty to disclose
 15   material facts regarding the HVAC Defect.
 16               2.     Plaintiffs Casper and Alley Have Raised Triable Issues of
 17                      Material Fact of Reliance on TMS’s Omission
 18         As described above, Plaintiffs Casper and Alley both purchased their

 19   vehicles from authorized dealers and engaged in conversations with the

 20   dealerships, in which the HVAC Defect was not disclosed. See supra, Sections V.I

 21   & V.G. Plaintiffs Casper and Alley further testified that they would have acted

 22   differently had they known about the HVAC Defect when purchasing their vehicle.

 23   SUF 95-106; 66. As such, there are triable issues of material fact of reliance on
      TMS’s omission precluding summary judgment on Plaintiffs Casper and Alley’s
 24
      claims for negligent misrepresentation.
 25
                                       CONCLUSION
 26
            Toyota’s Motion should be denied for all the reasons set forth above.
 27
 28
                                            35
                                                        PLS’ MEM. OF P. & A. IN OPP’N TO DEF’S MSJ
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  1                                             Respectfully submitted,
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